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                                                           February 21, 2024
Via ECF

Honorable Andrew L. Carter
United States District Judge
Southern District of New York
40 Foley Square, Room 435
New York, New York 10007

                   Re: United States v. Jordan Meadow, No. 23 Cr. 313 (ALC)

Dear Judge Carter:

On behalf of defendant Jordan Meadow in the above-referenced case, I write to respectfully request
a 30-day extension of time within which to file any pre-trial motions. My notes reflect that, at a
conference held on November 14, 2023, the Court ordered that any such motions be filed by
February 24, 2024,1 that the government respond by March 29, 2024, and that a reply be filed by
April 12, 2024. The reason for the requested extension is to afford the parties more time to
continue discussions about pretrial disposition. The government consents to this request.

Accordingly, the defense respectfully requests that motions, if any, be filed by March 22, 2024,
opposition be filed by April 29, 2024, and reply by May 13, 2024.



    Respectfully submitted,




    Tai H. Park




1
    The prosecutors in this case inform me that their notes reflect the due date was February 14, 2024.
